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           In the United States Court of Federal Claims
                                        No. 23-1042C
                                      Filed: July 7, 2023
                                   NOT FOR PUBLICATION


 STEVEN D’AGOSTINO,

                     Plaintiff,

 v.

 UNITED STATES,

                     Defendant.


                          MEMORANDUM OPINION AND ORDER

HERTLING, Judge

       The plaintiff, Steven D’Agostino, proceeding pro se, filed this action on July 3, 2023.
The complaint was docketed on July 7, 2023. Concurrent with the complaint, the plaintiff filed
an application for leave to proceed in forma pauperis (IFP). The plaintiff appears eligible to
proceed in forma pauperis. Accordingly, the motion for leave to proceed in forma pauperis is
GRANTED.

        The complaint raises claims against two agencies of the federal government but also
alleges claims against non-federal government entities. Those claims fall outside the jurisdiction
of the Court of Federal Claims and must be dismissed pursuant to Rules 12(b)(1), 12(b)(6), and
12(h)(3) of the Rules of the Court of Federal Claims (“RCFC”).

         Before considering the merits of a plaintiff’s claims, a court must first determine that it
has jurisdiction to hear the case. Jurisdiction is a threshold matter that a court must resolve
before it addresses the merits of a case. Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 94-
95 (1998). A federal court has a responsibility to ensure that it has jurisdiction over any claims
asserted. See, e.g., St. Bernard Parish Gov’t v. United States, 916 F.3d 987, 992-93 (Fed. Cir.
2019). A court may dismiss a complaint on its own initiative if “the pleadings sufficiently
evince a basis for that action.” Anaheim Gardens v. United States, 444 F.3d 1309, 1315 (Fed.
Cir. 2006); see also St. Bernard Parish Gov’t, 916 F.3d at 992-93 (citing Foster v. Chatman,
136 S. Ct. 1737, 1745 (2016)).

        Even when a plaintiff is proceeding pro se, the complaint must satisfy basic pleading
requirements. Because the plaintiff is proceeding pro se his pleadings are entitled to a more
liberal construction than they would be given if prepared by a lawyer. See Haines v. Kerner,
404 U.S. 519, 520-21 (1972) (per curiam). Giving a pro se litigant’s pleadings a liberal
construction does not divest the pro se plaintiff of the responsibility of demonstrating that the
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complaint satisfies the jurisdictional requirements that limit the types of claims the Court of
Federal Claims may entertain. See Kelley v. Sec’y, U.S. Dep’t of Labor, 812 F.2d 1378, 1380
(Fed. Cir. 1987).

        The plaintiff’s complaint asserts claims against the United States Postal Service and the
Copyright Office. Those claims are based on alleged contracts between the plaintiff and those
agencies. The complaint fails to allege the existence of any contract between the plaintiff and
those agencies, suggesting his claims are not viable. The claims against those federal agencies
will, however, be left for resolution following any motion by the defendant to dismiss.

       The plaintiff has also alleged claims against a private party, Discover Bank, and an
agency of the New Jersey state government, the Motor Vehicle Commission, and that agency’s
director, Latricia Littles-Floyd.

       The jurisdiction of the Court of Federal Claims is established by the Tucker Act,
28 U.S.C. § 1491(a)(1), which provides:

               The United States Court of Federal Claims shall have jurisdiction to
               render judgment upon any claim against the United States founded
               either upon the Constitution, or any Act of Congress or any
               regulation of an executive department, or upon any express or
               implied contract with the United States, or for liquidated or
               unliquidated damages in cases not sounding in tort.

28 U.S.C. § 1491(a)(1) (emphasis added).

        Under the Tucker Act, the Court of Federal Claims does not have jurisdiction over any
defendants other than the United States. United States v. Sherwood, 312 U.S. 584, 588 (1941)
(“if the relief sought is against others than the United States the suit as to them must be ignored
beyond the jurisdiction of the [predecessor to the Court of Federal Claims]”); United States v.
Jones, 131 U.S. 1, 9 (1889). Accordingly, to the extent a complaint seeks damages from
defendants other than the United States, the Court of Federal Claims lacks jurisdiction to
consider those claims, and the complaint must be dismissed against any defendants other than the
United States for lack of jurisdiction.

       Accordingly, the claims against Discover Bank and the New Jersey Motor Vehicle
Commission and its director, Latricia Littles-Floyd, are outside the jurisdiction of the Court of
Federal Claims. The complaint is DISMISSED without prejudice pursuant to RCFC 12(b)(1)
and 12(h)(3) against those defendants. The claims against the defendant United States remain
pending. The defendant shall file an answer or appropriate motion by September 5, 2023.

       It is so ORDERED.

                                                                     s/ Richard A. Hertling
                                                                     Richard A. Hertling
                                                                     Judge

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